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                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION
                               www.flsb.uscourts.gov

In re:
EVAN PHILLIP JOWERS                                   Case No.: 24-13584-MAM
                                                      Chapter 11
       Debtor-in-Possession.
                                         /

                         NOTICE OF WITHDRAWAL OF DE 27

       The Debtor, EVAN PHILLIP JOWERS, by and through undersigned counsel, hereby

withdraws Docket Entry 27 – Initial Schedules as they contain forms that need to be filed

separately.


Dated: May 9, 2024                              VAN HORN LAW GROUP, P.A.
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